         Case 2:22-cr-00633-MIS Document 3 Filed 04/20/22 Page 1 of 2

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                                                                                              I$II APR 20 P}I I: 89
                           IN THE UNITED STATES DISTzuCT COURT
                                                                                                cLERi{-LArr*@
                                 FOR THE DISTRICT OF NEW MEXICO

  LINITED STATES OF           AMEzuCA,                   )
                                                         )
                   Plaintiff,                            )    cRrMrNALNo.          ?) - b33 rnrs
                                                         )
         VS.                                             )    Counts   I and2   l8 U.S.C.   $$ 922(e)(1)
                                                         )    and 924:Felon in Possession of a Firearm
  PABLO VARGAS and                                       )    and Ammunition.
  RUBEN MARTHA,                                          )
                                                         )
                   Defendants.                           )

                                              INDICTMENT
The Grand Jury charges:

                                                    Count I

       On or about    April 17,2021, in Dofla Ana County, in the District of New Mexico,            the

defendant, PABLO VARGAS, knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year, specifically, shooting at or from a motor vehicle,

knowingly possessed a firearm and ammunition in and affecting commerce.

       In violation of 18 U.S.C. $$ 922(gXl) and924.

                                                    Count 2

       On or about    April     17   ,2021, in Dofla Ana County, in the District of New Mexico, the

defendant, RUBEN       MARTHA, knowing that           he had been convicted of at least one crime

punishable by imprisonment for a term exceeding one year, specifically:

       1)      criminal damage (over $1,000),

       2)      aggravated assault (deadly weapon) (four counts),

       3)      shooting at dwelling or occupied building, and

       4)      possession of firearm or destructive device by felon,
          Case 2:22-cr-00633-MIS Document 3 Filed 04/20/22 Page 2 of 2




knowingly possessed a firearm and ammunition in and affecting commerce.

       ln violation of 18 U.S.C. $$ 922(gXl) and924.

                                 FORFEITT]RE ALLEGATION

       Upon conviction of any offense in violation of 18 U.S.C. $ 922(g),the defendant,

RUBEN MARTHA, shall forfeitto the United States, pursuantto 18 U.S.C. $ 924(d) and28

U.S.C. $ 2461(c), any firearms and ammunition involved in the commission of the offense,

including, but not limited to:

       a.      one Mossberg, model Maverick 88, l2-gauge shotgun bearing serial number

               MV0784IN; and

       b.      six l2-gauge shotgun shells.

                                                   A TRIJE BILL:


                                                    lsl
                                                   FOREPERSON OF THE GRAND JURY
